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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

TAURICE RICKS

   Plaintiff,

-vs-                                               CASE NO.: 3:16-CV-00205-HES-PDB

ALLIED INTERSTATE, LLC

   Defendant.
                                      /

                           NOTICE OF PENDING SETTLEMENT

       Plaintiff, Taurice Ricks, by and through the undersigned counsel, hereby notifies the

Court that the parties have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release or documents. Upon execution of

the same, the parties will file the appropriate dismissal documents with the Court.

       Dated: April 26, 2018.

                                               /s/Frank H. Kerney, III, Esquire
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                                               Counsel for Plaintiff

                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2018, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the
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following by operation of the Court’s Electronic Filing System: Patrick Broderick, Greenberg

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Gonzalez & Portuondo, 44 West Flagler Street, Miami, FL 33130 (sepg@lgplaw.com).

                                           /s/Frank H. Kerney, III, Esquire
                                           Frank H. Kerney, III, Esquire
                                           Counsel for Plaintiff
